                       Case 1-24-45433-ess                           Doc 1-5             Filed 12/31/24         Entered 12/31/24 15:26:10

   Fill in this information to identify the case:

   Debtor           __________________________________________________________________

   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
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  Debtor       _______________________________________________________                             Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:      91,176
                                                                                                                           $________________________________
           20/20 Inspections Inc.                                          Check all that apply.
    ____________________________________________________________
                                                                            Contingent
           3716 Fort Hamilton Parkway, Suite 100                  Unliquidated
    ____________________________________________________________            Disputed
           Brooklyn, NY 11218
    ____________________________________________________________                                   Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    192,170
                                                                                                                           $________________________________
     1 Seal Usa LLC                                                        Check all that apply.
    ____________________________________________________________
                                                                  Contingent
     544 Park Ave #431                                            Unliquidated
    ____________________________________________________________  Disputed
     Brooklyn NY 11205
    ____________________________________________________________                                   Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:  2,500
     Able Fencing   Inc                                          Check all that apply.                         $________________________________
    ____________________________________________________________
                                                                  Contingent
     59 Collins Ave                                               Unliquidated
    ____________________________________________________________  Disputed
     NY 10977
    ____________________________________________________________                        Goods/Services
                                                                 Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    30,337
     Alumil Supply LLC
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
     100A Broadway #155                                                     Unliquidated
    ____________________________________________________________            Disputed
     Brooklyn NY 11249
    ____________________________________________________________
                                                                                                Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    222,148
     Apartment Developers LLC
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
     735 Bedford Ave
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
     Brooklyn NY 11205
    ____________________________________________________________
                                                                                                Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    350
     Bac Group III LTD.
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
     366 Broadway
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
     Brooklyn NY 11211
    ____________________________________________________________
                                                                                                Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


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  Debtor         _______________________________________________________                           Case number (if known)_____________________________________
                 Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       10,000
                                                                           Check all that apply.                           $________________________________
           Ben Rottenstein Associates Inc.
    ____________________________________________________________
                                                                            Contingent
           147 Prince Street                                      Unliquidated
    ____________________________________________________________            Disputed
           Brooklyn, NY 11201
    ____________________________________________________________                                   Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                                   46,425
                                                                                                                           $________________________________
               Big Apple Testing
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
               9 Brooklyn Ave.
    ____________________________________________________________  Disputed
               New Hyde Park, NY 11040
    ____________________________________________________________
                                                                                                  Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       13,519
                                                                                                                           $________________________________
      Blank Rome                                                           Check all that apply.
    ____________________________________________________________
                                                                            Contingent
      1271 Avenue of American                                               Unliquidated
    ____________________________________________________________            Disputed
      NY NY 10020
    ____________________________________________________________                                 Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                   80,250
                                                                                                                           $________________________________
        Brooklyn Steel services
    ____________________________________________________________
                                                                           Check all that apply.
                                                                            Contingent
           65 13th St.                                                      Unliquidated
    ____________________________________________________________            Disputed
        Brooklyn, NY 11215
    ____________________________________________________________
                                                                                                    Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             5,000
                                                                                                                           $________________________________
           Buro Happold Consulting Engineerrs
    ____________________________________________________________
                                                                            Contingent
           100 Broadway 23rd floor
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
             NY NY 10005
    ____________________________________________________________                                   Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


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                Name



 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                      690
                                                                                                                     $________________________________
           Certified Lumber
     ___________________________________________________________  Contingent
                                                                  Unliquidated
           470  Kent Ave                                          Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
                                                                        disputed
           Brooklyn, NY 11249
     ___________________________________________________________
                                                                                            Goods/Services
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:        71,902
                                                                                                                     $________________________________
                                                                    Check all that apply.
            Con Edison
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________                             Goods/Services
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:       10,870
                                                                                                                     $________________________________
         Connect Direct Communications Inc.                      Check all that apply.
     ___________________________________________________________
                                                                  Contingent
           27 Bluefield DR. unit201                               Unliquidated
     ___________________________________________________________  Disputed
         Spring Valley, NY 10977
     ___________________________________________________________                            Goods/Services
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     $________________________________
             Downtown Capital Funding, LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                  Contingent
             1407 60th Street                                     Unliquidated
     ___________________________________________________________  Disputed
             Brooklyn, NY 11219
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:        67,910
                                                                                                                     $________________________________
      ECO USA LLC                                                   Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     100A BROADWAY - SUITE 188
     ___________________________________________________________  Disputed
     BROOKLYN NY 11249
     ___________________________________________________________
                                                                                           Goods/Services
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




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  Debtor         _______________________________________________________                           Case number (if known)_____________________________________
                 Name


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                              13,500
                                                                                                                           $________________________________
      Elite Expediting
    ____________________________________________________________
                                                                            Contingent
      1155 47th Street                                            Unliquidated
    ____________________________________________________________            Disputed
      Brooklyn NY 11219
    ____________________________________________________________                                   Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                              370
                                                                                                                           $________________________________
         Empire Fire Solutions
    ____________________________________________________________
                                                                  Contingent
         1361 40th St.                                            Unliquidated
    ____________________________________________________________  Disputed
            Brooklyn, NY 11218
    ____________________________________________________________
                                                                                                    Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       700
                                                                                                                           $________________________________
      Express Filing Inc                                                   Check all that apply.
    ____________________________________________________________
                                                                            Contingent
      183 Wilson St #395                                                    Unliquidated
    ____________________________________________________________            Disputed
      Brooklyn NY 11211
    ____________________________________________________________
                                                                                                    Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:
                                                                                                                                 3,000
                                                                                                                           $________________________________
      GRL Engineers
    ____________________________________________________________
                                                                 Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
      2175 MacDade Boulevard
    ____________________________________________________________            Disputed
      Holmes, PA 19043
    ____________________________________________________________
                                                                                                      Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:         17,317
                                                                                                                           $________________________________
                                                                           Check all that apply.
       Guma Corp.
    ____________________________________________________________
                                                                            Contingent
       240 Water Street
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
       Brooklyn, NY 11201
    ____________________________________________________________
                                                                                                      Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                 400
                                                                                                                           $________________________________
        Leonard  J Standberg
    ____________________________________________________________
                                                                 Check all that apply.
                                                                            Contingent
           32 Smith Freeport                                                Unliquidated
    ____________________________________________________________
                                                                            Disputed
        Freeport NY 11520
    ____________________________________________________________
                                                                                                     Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


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  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      32,980
                                                                                                                     $________________________________
     Moses  Katz & Associates                                    Check all that apply.
     ___________________________________________________________
                                                                  Contingent
     389 Wiloughby Ave #101                                       Unliquidated
     ___________________________________________________________  Disputed
     Brooklyn NY 11205
     ___________________________________________________________
                                                                                           Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      6,200
                                                                                                                     $________________________________
          MPI Plumbing                                           Check all that apply.
     ___________________________________________________________
                                                                  Contingent
           670 Myrtle #234                                        Unliquidated
     ___________________________________________________________  Disputed
          Brooklyn NY 11205
     ___________________________________________________________
                                                                                             Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      27,060
                                                                                                                     $________________________________
           NYC Electrical Contracting Inc.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                  Contingent
           185 Spencer Street                                     Unliquidated
     ___________________________________________________________  Disputed
           Brooklyn, NY 11205
                                                                                           Goods/Services
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      4,375
                                                                                                                     $________________________________
         NYC FUEL SERVICE CORP.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                  Contingent
         5317 92nd St.                                            Unliquidated
     ___________________________________________________________  Disputed
         Elmhurst, NY 11373
     ___________________________________________________________
                                                                                          Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




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  Debtor        _______________________________________________________                            Case number (if known)_____________________________________
                Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:
                                                                                                                  16,666
      ODA    Architectural                                       Check all that apply.                         $________________________________
    ____________________________________________________________
                                                                  Contingent
      250  Park  Avenue    South                                  Unliquidated
    ____________________________________________________________  Disputed

      Third Floor
    ____________________________________________________________
                                                                                         Goods/Services
                                                                 Basis for the claim: ________________________

       New York, NY 10003
    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     1,769
                                                                                                                           $________________________________
      Perfect Pest Control                                       Check all that apply.
    ____________________________________________________________
                                                                  Contingent
      199  Lee  Ave  #631                                         Unliquidated
    ____________________________________________________________  Disputed

      Brooklyn NY 11211
    ____________________________________________________________
                                                                                                 Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             88,552
                                                                                                                           $________________________________
       Quality Facility Solutions
    ____________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
       199 Lee Avenue, Suite #297
    ____________________________________________________________            Disputed
       Brooklyn, NY 11211
    ____________________________________________________________
                                                                                                Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             253,162
                                                                                                                           $________________________________
        Queens GC
    ____________________________________________________________
                                                                           Check all that apply.
                                                                            Contingent
           5218 19                                                          Unliquidated
    ____________________________________________________________            Disputed
        Brooklyn NY 11204
    ____________________________________________________________
                                                                                                 Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                              96,775
                                                                                                                           $________________________________
     Ra Engineering LLP
    ____________________________________________________________
                                                                           Check all that apply.
                                                                            Contingent
     512 7th Ave 6th floor
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
     NY NY 10018
    ____________________________________________________________
                                                                                                 Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                               12,432
                                                                                                                           $________________________________
     Rent A Unit
    ____________________________________________________________
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     543 Bedford Ave. suite#243
    ____________________________________________________________
                                                                  Disputed
    ____________________________________________________________
     Brooklyn, NY 11211                                                                           Goods/Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


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  Debtor        _______________________________________________________                       Case number (if known)_____________________________________
                Name



 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                           Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                               800
                                                                                                                      $________________________________
       Silvercup Scaffolding 1 LLC
     ___________________________________________________________  Contingent
                                                                  Unliquidated
       146 Spencer St #4002                                       Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
       Brooklyn NY 11205
     ___________________________________________________________    disputed

                                                                                       Goods/Services
                                                                 Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:       4,649
                                                                                                                      $________________________________
     Sunbelt Rentals Inc                                         Check all that apply.
     ___________________________________________________________
                                                                  Contingent
     PO box 409211                                                Unliquidated
     ___________________________________________________________  Disputed
     Atlanta GA 30384
     ___________________________________________________________
                                                                                            Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                        1,906
                                                                                                                      $________________________________
       Thomas Tiles Inc
     ___________________________________________________________
                                                                  Contingent
       1438 Ovington Ave
                                                                      Unliquidated
     ___________________________________________________________      Disputed
       Brooklyn NY 11219
     ___________________________________________________________
                                                                                            Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                         450
                                                                                                                      $________________________________
        ZETLIN & DE CHIARA
     ___________________________________________________________
                                                                     Check all that apply.
                                                                  Contingent
        1251 Avenue of the Americas, 36th Floor                   Unliquidated
     ___________________________________________________________  Disputed
           New York, NY 10020
     ___________________________________________________________
                                                                                           Goods/Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:     0
      Abe Greenhut
     ___________________________________________________________
                                                                     Check all that apply.                            $________________________________
                                                                      Contingent
     209 Harrison Avenue                                          Unliquidated
     ___________________________________________________________  Disputed

      Brooklyn NY 11206
     ___________________________________________________________
                                                                                             claim for 10% profits
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




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 Debtor        _______________________________________________________              Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts


                                                                                                                       0
                                                                                                            $_____________________________
5a. Total claims from Part 1                                                                   5a.




5b. Total claims from Part 2                                                                   5b.    +     $_____________________________




5c. Total of Parts 1 and 2
                                                                                               5c.          $_____________________________
   Lines 5a + 5b = 5c.




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